Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 1 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.

Vv.

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Plaintiffs,

Civil Action No. 1:16-cv-02429-TSC

Defendants.

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AFFIDAVIT OF LAURENCIO ALMANZA

I, Laurencio Almanza, declare under penalty of perjury under the laws of the United

States of America, state upon personal knowledge that:

Is

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. | am a plaintiff in this case.
I was born on May 2, 1961 in the United States of America and have been at all times

throughout my life a citizen of the United States of America.

. [lam the brother of Lorenzo Almanza.

On October 23, 1983, my brother, Lorenzo Almanza, was deployed in Beirut,
Lebanon with the United States Navy when a suicide bomber attacked the Marine
barracks.

On October 23, 1983, I was twenty-two years old. At the time, I was on inactive

reserve status in the United States Marine Corps, having completed my first
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 2 of 50

10.

enlistment on June 14, 1983, I first learned of the terrorist attack through the news
media. I was very worried about my brother, because I knew he was stationed in the
area. It was an extremely stressful time, not knowing the extent of Lorenzo’s injuries
or whether he was even alive.

Eventually, I learned that Lorenzo was badly injured, but was alive. I was relieved to
find out that my brother was alive, but he was seriously injured and it was not a given
that he would make it. I was very fearful that he would not pull through and suffered
significant anxiety and depression because of what Lorenzo had gone through. It was
a very difficult period for me, as well as the rest of the family, waiting for news while
Lorenzo was so far away.

When I was finally able to reunite with Lorenzo | was relieved and joyful to see him,
but I was also very saddened because I knew he was in a lot of pain and that the road
to recovery would be long and difficult.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. | did not know whether Lorenzo was dead or alive
following the attack.

1 suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This terrorist
attack has permanently impacted my family and me. Lorenzo has suffered a lot and
continues to suffer to this day. It has been very painful to witness his suffering. His
life has been forever changed by this horrible act and my relationship with my brother
has suffered as a result.

I have wrestled with anger and bitterness toward Iran for the suffering they caused my

brother and my family and the suffering they caused my Marine brothers and their
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 3 of 50

families. My frustration with terrorists was a significant influence on my decision to
reenlist in the Marine Corps and participate in the Gulf War.

11. My mother, Pieda Vasquez, and my siblings, Lorenzo Almanza, Francisca Tang,
Angel Almanza, Maria Herrera, Martha Almanza, and the estate of my late brother,
Ricardo Almanza, are also plaintiffs in this litigation.

I, Laurencio Almanza, declare under penalty of perjury under the laws of the

United States of America that the forgoing is true and correct.

Executed on this the _[[ day of January , 2018

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WYaurencio Almanza

Sworn to and subscribed before me

this II “day of Denuary __, 2018.

 

OFFICIAL STAMP
MONTI N PATEL
NOTARY PUBLIC - OREGON
COMMISSION NO. 942123
MY COMMISSION EXPIRES SEPTEMBER 03, 2019

 

 

 

 

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Notary Public
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 4 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, ez al.
Plaintiffs,

Vv. Civil Action No. 1:16-cv-02429-TSC

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

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AFFIDAVIT OF LORENZO ALMANZA

 

I, Lorenzo Almanza, declare under penalty of perjury under the laws of the United States
of America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on May 20, 1962 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. On October 23, 1983, I was serving as a Petty Officer 3rd Class in the United States
Navy, having enlisted on June 29, 1981, and was stationed in Beirut, Lebanon.

4. On October 23, 1983, when the Marine Battalion Landing Team Headquarters
(“BLT”) in Beirut was attacked by a suicide bomber, | was asleep on my cot on the

second floor of the BLT.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 5 of 50

5. I was jarred awake by the loud explosion and recall sitting up in my cot. The next
thing I remember is waking up and opening my eyes, but not being able to see. I was
buried. I started to panic and tried to yell for help. I tried to push myself up and
realized I was buried face down in dirt and that only my torso was buried. When I
was able to free myself and sit up I looked down at my legs. They were both broken
and dangling unnaturally. A piece of metal was sticking out of my right thigh.

6. A Marine came over to me and I was placed on a stretcher and moved to an open field
to be medevaced out. Eventually I was put on a hospital plane and taken to the Army
hospital in Landstuhl, Germany.

7. I spent the next few weeks at the hospital in Germany. I do not recall much from that
time, as I was on Morphine. However, I do recall an officer presenting the Purple
Heart to me. I remained in Germany until approximately November 9, 1983. From
there I was transported to the Naval Hospital at Camp Lejeune, North Carolina, where
I arrived on November 9, 1983. My brother, Ricardo Almanza, was stationed there at
the time as a member of the United States Marine Corps and was waiting on me when
I arrived. He visited me every day while I was an inpatient there, which was until
February 28, 1984. Ricardo was always my biggest advocate.

8. As aresult of the subject terrorist attack, I suffered serious physical injuries that
continue to affect me to this day. These injuries include fractured left tibia, fractured
right tibia, fractured pelvis, amputated right foot at the metatarsals, right foot drop,
fused ankle right foot, osteomyelitis right tibia, foreign body left eye, hearing loss and
tinnitus in right ear. I have undergone many subsequent surgeries through the years
as a result of my injuries. To this day, I wear a leg brace and walk with a limp. I am

limited in the amount of walking I can do without stopping to rest. I sometimes get
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 6 of 50

frustrated and angry over my limitations. Further, I feel ashamed of my amputation,
though I’m not sure why.

9. Defendants, the Islamic Republic of Iran and the Iranian Ministry of Intelligence and
Security have inflicted severe bodily injury upon me and severe emotional stress on
me and my entire family. I have tried my best not to think about what happened and,
in my own way, I have blocked out this awful experience.

10. My mother, Pieda Vasquez, and my siblings, Laurencio Almanza, Angel Almanza,
Maria Herrera, Francisca Tang, Martha Almanza, and the estate of my late brother,
Ricardo Almanza, are also plaintiffs in this litigation.

11. L have taken action to open the Estate of Ricardo Almanza, which is also a plaintiff in
respect of the instant action, in El Paso, Texas, which was the place of his residence
at the time of his death. Prior to award of any monetary judgment, to the best of my
knowledge, I will be the duly appointed representative of the Estate of Ricardo
Almanza as provided by law.

I, Lorenzo Almanza, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the [6 day of Tawuaay , 2018

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Way e / IK —

Lorenzo Almanza

 

Sworn to and subscribed before me

this |i day of ONL =~ , 30

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Notary Public / ©

   
 
 
 

 
 

 

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, = MY COMMISSION EXPIRES
= June 16, 2019

    
 
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 7 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et ai.

Vv.

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Plaintiffs,

Civil Action No. 1:16-cv-02429-TSC

Defendants.

el a el

 

AFFIDAVIT OF MABEL RICH

I, Mabel Rich, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

1,

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on January 29, 1940 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

I am the mother of Steven Milton Forrester.

On October 23, 1983, my son, Steven Forrester, was deployed in Beirut, Lebanon
with the United States Marine Corps when a suicide bomber attacked the Marine
barracks.

I first learned of the terrorist attack on October 23, 1983 when I received a phone call

from my husband while I was at work. I was immediately struck with worry.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 8 of 50

6. Later that day, a representative from the military came to see me and informed me
that my son was killed as a result of the terrorist attack. I was devastated.

7. Ihave suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I suffered and continue to suffer because of the
emotional pain, stress and the loss of solatium inflicted upon me and my family as a
result of this attack.

8. I continue to experience depression related to Steven’s death. It is always worse
around the holidays, especially Christmas; Steven loved Christmas. It is only within
the last few years that I have allowed a Christmas tree to be put up in my home.

9. The terrorist attack stole Steven’s future and permanently impacted my life, as it
forever severed my relationship with my son and left a void in my life that can never
be filled. The pain of losing a child is something that does not fade with time.
Losing Steven truly was losing a part of myself. I continue to mourn for my son.

10. I have been diagnosed with End Stage Rena! Disease and am now on dialysis. I am
also dealing with several other medical issues that have limited my mobility. It isa
struggle for my husband to help care for me and I know that, if Steven were alive, he
would be here to help me. I miss him very much.

I, Mabel Rich, declare under penalty of perjury under the laws of the United States

of America that the forgoing is true and correct.

Executed on this the 22™tay of lanuary , 2018

Mabel Rich

 
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 9 of 50

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Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 10 of JoO4 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.
Plaintiffs,
Vv.

Civil Action No. 1:16-cv-02429-TSC

THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

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AFFIDAVIT OF MARIA HERRERA

 

I, Maria Herrera, declare under penalty of perjury under the laws of the United States of
America, state upon personal knowledge that:

1. I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on January 31, 1970 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. Iam the sister of Lorenzo Almanza.

4, On October 23, 1983, my brother, Lorenzo Almanza, was deployed in Beirut,
Lebanon with the United States Navy when a suicide bomber attacked the Marine
barracks.

5. On October 23, 1983, I was thirteen years old. I learned of the terrorist attack from
my sister, Martha Almanza, who had seen it on the news. It felt like my whole world

had come crumbling down. I felt very numb, but also a deep fear. I cried a lot.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 44 of BO-F U

6. The next morning a naval officer came to our house and informed my mother and the
family of Lorenzo’s condition. He was badly injured, but he was alive. I was still
very scared for my brother and very anxious.

7. When Lorenzo returned to the States, it was to the Naval Hospital in Camp Lejeune,
North Carolina. My mother took a bus from Texas to North Carolina to stay with and
care for him. While she was gone, I helped take care of my little brother, Angel
Almanza, and my nephew, Daniel.

8. Lorenzo was allowed to leave the hospital in North Carolina for approximately a
week and to spend the Christmas holidays back at home with family in Texas. |
remember waiting for him at the airport. The flight was delayed and it felt like an
eternity before he arrived. When they brought Lorenzo out in a wheelchair I was in
shock because I did not recognize him. He was so skinny and so pale, as if the life
had been sucked out of him. His face looked like he was in agonizing pain. Upon
seeing him, a mixture of emotion welled up inside of me and I cried. I cried with the
happiness of seeing my brother, but mostly I cried with the deep sadness of seeing
him broken and in pain. Nevertheless, he was the best Christmas present God could
have ever given to us.

9. I grew up with this tragedy. 1 was humbled to see my brothers and father carrying
Lorenzo to the bathroom because he could not do it himself and his wheelchair would
not fit. I watched my mother and sisters feed him and lift his legs to decrease his
pain. I watched as my brother, once a great runner, learned to walk again. I watched
my mother wrap the tops of his crutches with rags to soften them against his raw
armpits. And I have watched my brother struggle with subsequent operations,

infections, and hospitalizations, which he has been forced to endure over the decades.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Paga12 9160 |

10. Following the attack, Lorenzo turned very serious and quiet and was not as outgoing
as he once was. He will never be the same person that he was prior to the attack, but I
wish I could see him again as he once was.

11. I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether Lorenzo was dead or alive
following the attack.

12. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This horrible
terrorist attack has permanently impacted my family and me. Following the bombing,
I developed anxiety issues and have suffered from chronic anxiety and depression
ever since. Years later, when one of my brothers was deployed to Operation Desert
Storm, I could not bear to leave the house due to my anxiety. When my son deployed
to the Middle East in 2014, I fell into a horrible depression and was in a constant state
of severe anxiety throughout his deployment that left my body in pain. I suffered
frequent panic attacks that affected my family horribly.

13. My mother, Pieda Vasquez, and my siblings, Lorenzo Almanza, Laurencio Almanza,
Angel Almanza, Martha Almanza, Francisca Tang, and the estate of my late brother,
Ricardo Almanza, are also plaintiffs in this litigation.

I, Maria Herrera, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the i ol day of Jano, 2018
Hast veninn-

Maria Herrera
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 13 of 50 q OF a

Sworn to and subscribed before me eNO

this /D. day of nue , 2018. by Mona Werrera

OFFICIAL SEAL
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. 6}) NOTARY PUBLIC - OREGON
See COMMISSION NO. 949633
MY COMMISSION EXPIRES APRIL 14, 2020__}

 
 

  

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Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 14 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.

Vv.

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Plaintiffs,

Civil Action No. 1:16-cv-02429-TSC

Defendants.

Nee OO SO oS”

 

AFFIDAVIT OF MARTHA ALMANZA

I, Martha Almanza, declare under penalty of perjury under the laws of the United States

of America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on August 27, 1963 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

1 am the sister of Lorenzo Almanza.

On October 23, 1983, my brother, Lorenzo Almanza, was deployed in Beirut,
Lebanon with the United States Navy when a suicide bomber attacked the Marine
barracks.

On October 23, 1983, I was twenty years old. | first learned of the terrorist attack

while getting ready for work on the morning of October 23, 1983 when a special

 

 

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Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 15 of 50

10.

report came across the television. I was very scared and worried about my brother,
because I knew he was there. My family and I began making phone calls trying to get
information about Lorenzo, but there was a lot of confusion and no one could give us

any answers. The waiting and the inability to obtain news of Lorenzo were horrible.

. The next morning a naval officer came to our house and informed my mother and the

family of Lorenzo’s condition. He was badly injured, but he was alive. I was
relieved to find out that my brother was alive, but I was angry that he was injured.
When Lorenzo returned to the States, it was to the Naval Hospital in Camp Lejeune,
North Carolina. My mother took a bus from Texas to North Carolina to stay with and
care for him. While she was gone, I looked after my younger siblings.

Lorenzo was allowed to leave the hospital in North Carolina for approximately a
week and to spend the Christmas holidays back at home with family in Texas. I
remember waiting for him at the airport. The local news media was there. They
brought Lorenzo out in a wheelchair; he was so frail. My siblings and I all ran to
him, everyone in tears.

During the week Lorenzo was home, he needed a lot of help and extra care. My
brothers had to carry him to and from the bathroom. My mother changed the dressing
on his right foot, which had been partially amputated, daily. I witnessed the
excruciating pain this caused Lorenzo each time, as the dressing would stick and have
to be peeled from his fresh wound. I love my brother very much and it broke my
heart to see him in such pain and so helpless.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether Lorenzo was dead or alive

following the attack.

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Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 16 of 50

11. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This terrorist
attack has permanently impacted my family and me. Although Lorenzo never
complains in front of me, I know that it has not been easy for him dealing with his
injuries. It makes me so sad and angry that after thirty-four years he continues to be
in pain and to suffer due to the terrorist attack. His life was changed forever and no
amount of money will ever be enough to compensate Lorenzo for what he has lost.

12. My mother, Pieda Vasquez, and my siblings, Lorenzo Almanza, Laurencio Almanza,
Angel Almanza, Maria Herrera, Francisca Tang, and the estate of my late brother,
Ricardo Almanza, are also plaintiffs in this litigation.

I, Martha Almanza, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

State of OCHO County o Washingt”
Executed on this Ha of | ny 2018 fe

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Martha Almanza Md

Sworn to and subscribed befgre me
this {2M day of FUN 2018.

 

OFFICIAL SEAL
WENDY S KRAFTHEFER
NOTARY PUBLIC - OREGON
COMMISSION NO. 925728
MY COMMISSION EXPIRES MARCH 12, 2018

 

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et al. )
)
Plaintiffs, )
)
Vv. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY
)
)
)
)

 

AFFIDAVIT OF MARY McMAHON

I, Mary McMahon, declare under penalty of perjury under the laws of the United States

of America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on

my own personal knowledge. I am a plaintiff in this case.

. I was born on April 19, 1934 in the United States of America and have been at all

times throughout my life a citizen of the United States of America.

I am the mother of Adam Webb.

On October 23, 1983, my son, Adam Webb, was deployed in Beirut, Lebanon with
the United States Marine Corps when a suicide bomber attacked the Marine barracks.
I first learned of the terrorist attack on October 23, 1983 on the television morning
news. I knew right away that the building being shown on the television was where

my son Adam was. I was terrified. It was the worst day of my life. All I could do
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 18 of 50

10.

was sit by the television and cry. All I could think of was whether my son was dead
or alive. The waiting and not knowing if Adam was alive or not was unbearable.
About 4:00 a.m. the next morning my phone rang. It was Adam calling from a
hospital in Italy. He was hurt, but he was alive. I cried and thanked God for saving
him.

When Adam was due to return home, I, along with Adam’s dad, William Webb, Sr.,
his wife and newborn son, Dawn and Andy Webb, and his sister, Brenda Sue Meager,
went to pick him up from the airport in Pittsburgh, Pennsylvania. It was one of the
happiest times of my life. We all cried and hugged Adam.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether my son was dead or alive
following the bombing. Eventually, I learned that Adam had been injured as a result
of the terrorist attack, but was alive.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. The trauma of the
incident and the subsequent strain and lifelong suffering my son and family have
endured has been an unimaginable struggle.

This terrorist attack forever changed Adam and negatively impacted his future and
permanently impacted my life, as it forever changed my relationship with my son.
Before Adam went to Beirut everything was good. Adam had a good relationship
with me and his father and his siblings. We always helped each other and were
always there for one another. Things have changed a lot since the attack. After

returning home, Adam began to drink a lot and has struggled with alcoholism ever
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 19 of 50

since. He just cannot put what happened in Beirut out of his mind. He also became a
very anxious person.

11. I love my son very much. Adam deserves happiness and peace of mind, but he
simply cannot overcome everything that he has suffered. I wish I were able to help
him to do that. I want justice for my son.

12. My children and Adam Webb’s siblings, Brenda Sue Meager, Katherine Nagy,
William Webb, Jr., and Roger Webb, as well as the estate of my late husband and
Adam Webb’s father, William Webb, Sr., and also Adam Webb’s wife, Dawn Webb,
and his late son, Donald Webb, in addition to Adam Webb himself, are also plaintiffs
in this litigation.

13. I have taken action to open the Estate of William Webb, Sr., which is also a plaintiff
in respect of the instant action, in Belmont County, Ohio, which was the county of his
residence at the time of his death. Prior to award of any monetary judgment, to the
best of my knowledge, I will be the duly appointed representative of the Estate of
William Webb, Sr., as provided by law.

14. My late husband, William Webb, Sr., suffered extreme emotional distress as a result
of the bombing of the Marine barracks in Beirut, Lebanon.

15. My husband and I suffered through this tragedy together and I can personally attest to
his own personal suffering and mental anguish.

I, Mary McMahon, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 20 of 50

Executed on this the |6 day of Jonvas) , 2018

Ip ann Une Fy aren’
Mary McMahon

Sworn to and subscribed before me
this /£ day of January __, 2018.

&% SCOT M.MCMAHON

 

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NOTARY PUBLIC
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aat 7", Me Malon My Commission Has
Notary Public

No Expiration Date
Section 147.03 O.R.C.

 
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 21 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

JOHN RELVAS, et al
Plaintiffs,
Vv.
Civil Action No. 1:14-cv-01752-RCL
THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants

 

 

AFFIDAVIT OF PERCY TRAHAN
I, Percy Trahan, declare under penalty of perjury under the laws of the United States of
American, state upon personal knowledge that:

1. I am of sound mind, over the age of eighteen (18), and make this statement based on my
own personal knowledge. I am a plaintiff in this case.

2. I was born on February 6, 1936 in the United States of America. I have been at all times
throughout my life a citizen of the United States of America. I am also an honorably
discharged veteran of the Louisiana National Guard and Special Forces in Breaux Bridge,
Louisiana.

3. Iam the father of Lex Trahan. He was our only child.

4. On October 23, 1983, my son, Lex Trahan, was deployed in Beirut, Lebanon with the

United States Marine Corps when a suicide bomber attacked the Marine barracks.
10.

11.

Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 22 of 50

I first learned of the terrorist attack when three military officials came to my house while
I was watching television coverage on the bombing. The days that followed were full of
sadness and pain.

I have suffered extreme emotional distress because of the bombing of the Marine barracks
in Beirut, Lebanon. I did not know whether my son was dead or alive for several days after
the bombing, at which time a Marine officer personally notified me that Lex had been killed
as a result of the terrorist attack.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack.

This terrorist attack stole Lex's future and permanently impacted my life, as it forever
severed my relationship with my son and left a void in our family that can never be filled.
The pain of losing a son, our only child, especially in such a senseless and violent way, is
something that does not fade with time, particularly since he was our only child.

My wife, Shirley Trahan is also a plaintiff in this litigation.

I have taken action to open the Estate of Lex Trahan, which is also a plaintiff in respect of
the instant action, in Lafayette Parish, Louisiana, which was the place of his residence at
the time of his death before being killed in Beirut, Lebanon. Prior to award of any monetary
judgment, to the best of my knowledge, I will be the duly appointed representative of the
Estate of Lex Trahan as provided by law.

My wife, Shirley Trahan, suffered extreme emotional distress as a result of the bombing
of the Marine barracks in Beirut, Lebanon that killed our son. She is unable to talk about

her loss.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 23 of 50

12. Shirley and I grieved the loss of our son together and I can personally attest to the depths
of her sorrow and anguish. We suffered from severe anxiety and depression following Lex's
death. Shirley never recovered and continued to struggle with her constant grief and pain.

13.1, Percy Trahan, declare under penalty of perjury under the laws of the United States of

America that the forgoing is true and correct.

Executed on this / & day of J} Enevene , 2018.

   

Sworn t d subscribed before me

This /6 day of

 
  

NOTARY PUBLIC

Warren A. Perrin
LSPA #19498
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 24 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et al. )
)
Plaintiffs, )
)
Vv. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY
)
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)

 

AFFIDAVIT OF PIEDA VASQUEZ

 

I, Pieda Vasquez, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

1.

we)

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on January 12, 1941 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

I am the mother of Lorenzo Almanza.

On October 23, 1983, my son, Lorenzo Almanza, was deployed in Beirut, Lebanon
with the United States Navy when a suicide bomber attacked the Marine barracks.

I first learned of the terrorist attack when a naval officer came to the house and told
me of it. Upon first glimpse of the officer, I was terrified. I could not talk or even

move my eyes. When he asked me if I was the mother of Lorenzo Almanza it was all
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 25 of 50

10.

I could do to nod my head. He sat me down and told me what happened. Lorenzo
had been in the building that was bombed. He was alive, but he was very injured.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. When Lorenzo returned to the United States he was
taken to the Naval Hospital at Camp Lejeune, North Carolina. The Red Cross helped
me buy a bus ticket from Texas to North Carolina so that I could see my son and stay
with him at the hospital. He was so thin and so traumatized by the attack. It truly
hurts a mother to see a son in such a condition.

Over the months that followed, I helped care for my son and regularly changed the
gauze around the amputation of his foot. Each time we did that, he was in terrible
pain.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. The trauma of the
incident and the subsequent strain of the lifelong disabilities suffered by my son has
led to great sadness.

This terrorist attack stole Lorenzo’s youth and stripped him of his well-being. It has
been a burden on him and on the family that will never go away. I want justice for
my son. He never deserved the lifetime of pain and misery that was brought upon
him.

My children, Lorenzo Almanza, Laurencio Almanza, Angel Almanza, Maria Herrera,
Francisca Tang, Martha Almanza, and the estate of my late son, Ricardo Almanza,

are also plaintiffs in this litigation.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 26 of 50

I, Pieda Vasquez, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the |Z day of Jat, 2018

   

Pieda Vasquez

  

Sworn tg and subscribed before me
this 12 ~ day of Sanuary , 2018.

 

OFFICIAL STAMP
MONTIN PATEL
NOTARY PUBLIC - OREGON
COMMISSION NO. 942123

af y and MY COMMISSION EXPIRES SEPTEMBER 03, 2019

Notary Public .

 

 

 

 
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 27 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.
Plaintiffs,

Vv. Civil Action No. 1:16-cv-02429-TSC

THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

Name? Nem Nee Nee eee Nee Nc Nee” Nn Nee” ee Nae Ne” ee” te ee See”

 

AFFIDAVIT OF RICHARD ZIERHUT
I, Richard Zierhut, declare under penalty of perjury under the laws of the United States of
America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on August 26, 1963 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. On October 23, 1983, I was serving as a Lance Corporal in the United States Marine
Corps, having enlisted on January 27, 1982, and was stationed in Beirut, Lebanon.

4. On October 23, 1983, when the Marine Battalion Landing Team Headquarters
(“BLT”) in Beirut was attacked by a suicide bomber, I was eating breakfast in a

building adjacent to the BLT, approximately 70 meters from the blast epicenter.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 28 of 50

5. That morning I had decided to forego my normal routine and to not work out, shower,
and attend the chow hall for breakfast — all of which would have placed me inside the
BLT. Instead, I had made instant coffee and was preparing to enjoy an MRE when I
heard a loud crack and then the deafening roar from the explosion. The massive
concussive blast wave blew me from my chair and into the wall behind me. The
room door was blown off and concrete pieces flew into and across the room. The
building shook so violently I thought we had taken a direct mortar hit and was afraid
the entire structure was going to collapse. I couldn’t see initially, my ears were
ringing, I felt light headed, and my nose was bleeding. I had been pelted with debris,
but, fortunately, I was wearing my flak jacket and helmet at the time.

6. AsI collected myself in the seconds after the explosion, I reached for a water bottle
and sprayed my face and eyes to clear the debris. I noticed the water on the floor was
bloody, but I could not feel anything on my face. I used my hands to perform a quick
check: superficial wounds, cuts, and a bloody nose. My ears were still ringing badly.
I loaded my M16, double checked that there was a round in the chamber, checked that
my side arm was loaded, and headed towards the BLT.

7. As I walked quickly down the hallway towards the BLT, I could see out through the
front doors a mushroom cloud above where the BLT was supposed to be. I paused at
the front doors to assess the situation. I saw bodies and body parts strewn across the
ground and hanging from trees and anything else left standing. The grotesque
hellscape immediately made me feel sick to my stomach. My adrenaline was surging.

8. Almost immediately after the explosion we began taking sniper fire. It crossed my
mind that we could be under a full siege and were going to be overrun. However,

Cobra helicopters began to appear and the surrounding gunfire subsided.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 29 of 50

9.

10.

11.

I began directing some of the other Marines to pull survivors and stage them at the
top of a set of stairs near our building so we could access them with vehicles and to
place dead marines at the bottom of the stairs where we could line and cover their
bodies. A young PFC asked me what we should do with the pieces; I said over next
to the dead marines. Marines with internal concussive damage started dying in our
arms as we tried to save them with wounds we could not see. This macabre sorting
continued for approximately 18 hours, until we were ordered away from the site to eat
and sleep.

The rescue effort went on for days and days. We dug through the pile of concrete and
steel that used to be the BLT with our K-bars and bare hands to hunt for trapped
survivors and to recover the bodies of our fallen brothers. Mixed in with the building
material itself were other hazardous materials. Gas tanks from vehicles, unexploded
ordinance, diesel leaking from destroyed generators, batteries from our
communication cache, and every other imaginable piece of military and personal
equipment was tangled in the mess that was once the BLT. Arms, legs, and other
human remains no longer capable of identification were also dispersed throughout the
wreckage. It was indescribably gruesome, violent, raw, and visceral.

As a result of the subject terrorist attack, I suffered permanent physical injuries,
including hearing loss and scars from superficial wounds, and serious emotional
injuries, including PTSD, that continue to affect me to this day. Defendants, the
Islamic Republic of Iran and the Iranian Ministry of Intelligence and Security have
inflicted severe bodily injury upon me and severe emotional stress on me and my

entire family.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 30 of 50

12. Prior to Beirut, I was very close to and spent a lot of time with my family. Afterward,
I was uncomfortable around others and grew distant from my family and I started
using drugs and alcohol to self-medicate. 241 marines died that day in Beirut.
Almost everyone I knew from my unit was killed in an instant. I wasn’t prepared to
deal with it — what 21 year old is? Those of us who have lived through terrorist
incidents first hand are forever wounded and can never rest the same as we once did.

I have dealt with the after effects of this event for 34, going on 35, years. I have
regained my sobriety and finally began to receive some help from the VA starting in
2013. I continue to receive care through various support groups, AA, and private
therapy. It has been a huge struggle. It is beyond time for Iran to pay for its actions.

I, Richard Zierhut, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the I “Gay of, YaNudey 2018

Richard Zierhut

 

Sworn to and subscribed before me
this day of , 2018.

See Attached

 

Notary Public
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 31 of 50

CALIFORNIA JURAT
(CALIFORNIA GOVERNMENT CODE § 8202)

 

 

A notary public or other officer completing this certificate verifies only the identity of the
individual who signed the document to which this certificate is attached, and not the truthfulness,
accuracy, or validity of that document.

 

STATE OF CALIFORNIA )
COUNTY OF ORANGE )

Subscribed and sworn to (or affirmed) before me on this 7 day of JAmuaay 2019

by Roca ano ZVER RAT , proved to me on the basis of
(Name of Signer(s))
satisfactory evidence to be the person(s) who appeared before me.

JOE GRELCK
Commission # 2124620
Notary Public - Calitornia

Orange County

My Comm. Expires Aug 23, 2019

Wralale

Signature of | Notary Public (Notary Seal)

 

ADDITIONAL OPTIONAL INFORMATION

 

 

Description of Attached Document
Title or Type of Document: BE\Ruy AFR DAVIT Document Date:__\-9-\G
Number of Pages: Y Signer(s) Other Than Named Above:

 

Additional Information:

 

 

revision date 01/01/2015
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 32 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.

V.

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Plaintiffs,

Civil Action No. 1:16-cv-02429-TSC

Defendants.

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AFFIDAVIT OF ROGER WEBB

I, Roger Webb, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on March 18, 1956 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

1 am the brother of Adam Webb.

On October 23, 1983, my brother, Adam Webb, was deployed in Beirut, Lebanon
with the United States Marine Corps, posted at the Marine Battalion Landing Team
headquarters (“BLT”) when a suicide bomber attacked the BLT.

On October 23, 1983, I was twenty-seven years old. I first learned of the terrorist

attack that destroyed the BLT from the television news. I knew that Adam was
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 33 of 50

10.

staying inside that building and was very worried about my brother. No one knew if
Adam was dead or alive. My brothers and sisters came over and, together with my
parents, we spent the rest of the day glued to the television. It was an awful ordeal.
Adam called the house in the middle of the night. He was alive, but was injured and
was in a hospital in Italy. That same morning, the sheriff and military personnel
showed up to inform us that Adam had been killed in the terrorist attack. Thank
goodness my mother had already spoken with him.

When Adam returned home I was excited to see him. However, he was different after
returning. He mostly kept to himself and did not say much about what had happened.
He became a loner and turned to alcohol and has battled alcoholism ever since.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. | did not know whether Adam was dead or alive
following the attack. Additionally, Adam’s psychological injuries following the
bombing and resulting alcoholism have placed enormous stress on me and our
relationship. Before Beirut, Adam was a happy-go-lucky guy who was close to his
family and liked to get together. All of that changed.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This terrorist
attack has permanently impacted my family and my relationship with my brother,
Adam Webb. Adam continues to have issues with alcoholism, maintaining personal
relationships, and discussing his military experiences.

My brother, Adam Webb, as well as my mother, Mary McMahon, and the estate of

my late father, William Webb, Sr., Adam’s other siblings, Katherine Nagy, William
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 34 of 50

Webb, Jr., and Brenda Meager, Adam’s wife, Dawn Webb, and the estate of Adam’s
late son, Donald Webb, are also plaintiffs in this litigation.
I, Roger Webb, declare under penalty of perjury under the laws of the United States

of America that the forgoing is true and correct.

Executed on this the |b day of Janvary , 2018

Roger Webb

Sworn to and subscribed before me

this /6 day of _Jonvasy 2018.

Attomey At Law

 

NOTARY PUBLIC

act M™ Me rn STATE OF OHIO
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Notary Public No Expiration Date

 
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 35 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

) ¥
DAVID DIBENEDETTO, ez al. )
)
Plaintiffs, )
)

V. ) Civil Action No. 1:16-cv-02429-TSC

)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY
)
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AFFIDAVIT OF SANDRA LAINHART

I, Sandra Lainhart, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

1.

Wo

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. | am a plaintiff in this case.
I was born on October 2, 1942 in the United States of America and have been at all

times throughout my life a citizen of the United States of America.

. Tam the mother of Mark Payne.

On October 23, 1983, my son, Mark Payne, was deployed in Beirut, Lebanon with the
United States Marine Corps when a suicide bomber attacked the Marine barracks.

I first learned of the terrorist attack on October 23, 1983 on the Sunday morning
news. I was immediately struck with an overwhelming fear that my son was inside

what remained of the headquarters building that was being shown on television.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 36 of 50

6. The days that followed were full of anxiety, sadness, and pain. The waiting and not
knowing if Mark was alive or not was unbearable. It seemed like an eternity.

7. [have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether my son was dead or alive
following the bombing. Eventually, two Marine soldiers knocked on my front door
and gave me the news that I was dreading. They confirmed that Mark had been killed
as a result of the terrorist attack.

8. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack.

9. This terrorist attack stole Mark’s future and permanently impacted my life, as it
forever severed my relationship with my son and left a void in my life that can never
be filled. The pain of losing a child, especially in such a senseless and violent way, is
something that does not fade with time. All of these years have passed, but the pain
of losing Mark is still very much alive. Not a day goes by that I do not think of him.

10. I have taken action to open the Estate of Mark Payne, which is also a plaintiff in
respect of the instant action, in Binghamton, New York, which was the place of his
residence at the time of his death before being killed in Beirut, Lebanon. Prior to
award of any monetary judgment, to the best of my knowledge, I will be the duly
appointed representative of the Estate of Mark Payne as provided by law.

I, Sandra Lainhart, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 37 of 50

Executed on this the /22_ day of : , 2018

 

Sworn to and subscribed before me
this _/Q day of lanua a , 2018.

Kel Cb’

Notary Public

Kelly AlFaouri
Notary Public, State of New York
Qualified in Broome County
No. 01AL6204709
Commission Expires April 20, 202 |
—

JOHN RELVAS, et al

Vv.

THE ISLAMIC REPUBLIC OF IRAN

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 38 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Plaintiffs,

Civil Action No. 1:14-cv-01752-RCL

AND

Defendants

 

 

AFFIDAVIT OF SHIRLEY TRAHAN

I, Shirley Trahan, declare under penalty of perjury under the laws of the United States of

American, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on my
own personal knowledge. I am a plaintiff in this case.
I was born on September 25, 1939 in the United States of America. I have been at all times

throughout my life a citizen of the United States of America.

. Iam the mother of Lex Trahan. He was our only child.

On October 23, 1983, my son, Lex Trahan, was deployed in Beirut, Lebanon with the
United States Marine Corps when a suicide bomber attacked the Marine barracks.

I first learned of the terrorist attack when three military officials came to my house while
I was watching television coverage on the bombing. The days that followed were full of

sadness and pain.
10.

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Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 39 of 50

I have suffered extreme emotional distress because of the bombing of the Marine barracks
in Beirut, Lebanon. I did not know whether my son was dead or alive for several days after
the bombing, at which time a Marine officer personally notified me that Lex had been killed
as a result of the terrorist attack.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack.

This terrorist attack stole Lex's future and permanently impacted my life, as it forever
severed my relationship with my son and left a void in our family that can never be filled.
The pain of losing a son, especially in such a senseless and violent way, is something that
does not fade with time, particularly since he was our only child.

My spouse, Percy Trahan, is a plaintiff in this litigation.

I have taken action to open the Estate of Lex Trahan, which is also a plaintiff in respect of
the instant action, in Lafayette Parish, Louisiana, which was the place of his residence at
the time of his death before being killed in Beirut, Lebanon.

My husband, Percy Trahan, suffered extreme emotional distress as a result of the bombing
of the Marine barracks in Beirut, Lebanon that killed our son.

Percy and I grieved the loss of our son together and I can personally attest to the depths of
his sorrow and anguish. We suffered from severe anxiety and depression following Lex's

death. Percy never recovered and continued to struggle with his grief.

. I, Shirley Trahan, declare under penalty of perjury under the laws of the United States of

America that the forgoing is true and correct.
* Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 40 of 50

Executed on this / 5 day of O\ ergs

KAZ, 4, Loker

SHIRLEY TRAHAN

 

Sworn to and subscribed before me
This _/ &day of J tue 2018

  

NOTARY PUBLIC

Warren A. Perrin
LSPA 4109408
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 41 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et ai. )
)
Plaintiffs, )
)
V. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
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THE IRANIAN MINISTRY
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AFFIDAVIT OF STEPHEN DIBENEDETTO

I, Stephen DiBenedetto, declare under penalty of perjury under the laws of the United

States of America, state upon personal knowledge that:

1,

I am of sound mind, over the age of eighteen (18), and make this statement based on

my own personal knowledge. I am a plaintiff in this case.

. I was born on August 20, 1971 in the United States of America and have been at all

times throughout my life a citizen of the United States of America.

I am the brother of Thomas DiBenedetto.

On October 23, 1983, my brother, Thomas DiBenedetto, was deployed in Beirut,
Lebanon with the United States Marine Corps when a suicide bomber attacked the
Marine barracks.

On October 23, 1983, I was twelve years old. I remember returning from a morning

at the flea market with my mother to learn of the attack. I was scared. I remember
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 42 of 50

standing on the bed in my room and ringing a little silver bell that someone had given
me in Italy for luck.

6. The next day after school my father met me at the bus stop — this was not usual. I
learned that Tommy had been killed in the terrorist attack. I was devastated.

7. Tommy was my hero and my best friend. I worshipped him. He was like a second
father to me. He was the person I crawled into bed with at night. He built me a
sandbox fort to play in as a child and built me a treehouse and a lean-to shelter in the
hillside in the woods by our house. I wanted to be just like him when I grew up.

8. In the days and weeks immediately following the news of Tommy’s death, the phone
at our house rang off the hook from predatory journalists. I spent a lot of time alone
walking in the woods — a place Tommy took me to play and to go camping. I walked
the forest thinking of Tommy. The attention I received from classmates and boy
scout troop members after Tommy’s death was overwhelming and made me feel
guilty. I felt I never deserved the attention.

9. It took a long time for my brother’s body to return home. I remember my father had
to decide whether to have an open casket because it had been so long since the attack.
It was decided that the casket would be open. I recall Tommy looking so fragile, as if
his skin would crumble. But I was grateful that I got to see his body, because I don’t
think I would have ever believed he was gone otherwise. Even then, for years
afterward, I thought maybe his death was faked, that he had become a spy, and that he
might return one day. I remember being angry that he would pretend to be dead.

10. I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. This terrorist attack stole Tommy’s future and

permanently impacted my life, as it forever severed my relationship with my brother
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 43 of 50

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and left a void in our family that can never be filled. Tommy’s death, and the manner
in which it occurred, took away my innocence and brought death and grief into our

home that shaped the rest of my life.

. Tommy’s death was the most significant event of my childhood. It is entangled with

my life — the two cannot be separated. I was still a child living at home with my
parents. I saw what Tommy’s death did to my parents and I lived in the house along
with their grief. I watched as my mother fell into depression and ate and ate. I lived
with Tommy’s ghost and came of age under the weight of that pain and sadness.

It took our family years to even utter Tommy’s name. It was not until my sister Laura
named her first born Tommy that the family began to say the name again. Even after
the birth of her son, it still took a long time before anyone would say his name.
However, it was healing to once again have the name Tommy associated with a living
member of the family.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. I never really said
a proper goodbye to Tommy. To this day, I am paranoid about properly saying
goodbye to people when they, or I, travel. I have a lot of anxiety about being away
from loved ones. Whenever I travel I carry with me the fear that I will die and leave
my daughters without a father or that something might happen to them while I am
away. I believe these fears stem from experiencing Tommy’s death as a young boy.

I miss my brother and I carry my impressions of him around with me. I wish I could
have known Tommy as a person and not only as my big brother — a child’s distorted

view of a hero — but I will never get the chance. That was taken from me. Tommy’s
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 44 of 50

ghost still wanders my memories in the woods by our old house. He is my

adolescence.

15. My siblings, David DiBenedetto, Laura Pinatti, and Diane Martin, as well as the
estate of my late brother, Thomas DiBenedetto, are also plaintiffs in this litigation.

I, Stephen DiBenedetto, declare under penalty of perjury under the laws of the

United States of America that the forgoing is true and correct.

Executed on this the 24 day of Jaawirey , 2018

APYrty

Stephen DiBenedetto

Sworn to and subscribed before me

this a4 day of Teale , 2018.
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Notary Public

 
    
        

   

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Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 45 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et al. )
)
Plaintiffs, )
)
Vv. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY
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AFFIDAVIT OF STEVEN E. M. FORRESTER

I, Steven E. M. Forrester, declare under penalty of perjury under the laws of the United

States of America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on March 3, 1982 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

I am the son of Steven Forrester.

On October 23, 1983, my father, Steven Forrester, was deployed in Beirut, Lebanon
with the United States Marine Corps when a suicide bomber attacked the Marine
barracks.

On October 23, 1983, I was nineteen months old. I have no memories of my father.
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6.

10.

11.

I learned of the terrorist attack that killed my father around the age of seven when my
mother attempted to explain it to me.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. This terrorist attack stole my father from me and
permanently impacted my life, as I was forced go grow up without a father.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. I feel like I have
lived in mourning my whole life. The void of not having my father in my life has
been constantly felt. From a young child to adolescent to young adult, I was always
confused about life and the decisions I should make and understanding the duties of a
man. I constantly rebelled against my mother and got caught up with the law in my
youth. I struggled with not having a father. I knew my mother would do anything for
me, but there are just times when a son needs his father. Growing up without my
father was an emotional whirlwind.

My relationship with my father’s side of the family is sporadic at best. I feel like they
only see my father in me. I have been told I look just like him. It has made it
difficult for them to get to know me, because they are constantly reminded of him.

I sometimes contemplate how my life would have been different had my father not
been killed in Beirut. To this day, I still feel depression towards my father’s absence
and struggle to find peace with myself.

My mother, Christine Forrester, and my brother, Detwane Lewis, as well as my dad’s
mother, Mabel Rich, and my dad’s sister, Angela Forrester, and brother, James
Forrester, as well as the estate of my late father, Steven Forrester, are also plaintiffs in

this litigation.
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I, Steven E. M. Forrester, declare under penalty of perjury under the laws of the

United States of America that the forgoing is true and correct.

Executed on this the [94], day of omer Fey 2018

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a Steven E. M. Forrester
Sworn to and subscribed before me

this 19+) day of Jonvary , 2018.

Notary Bublic

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Baltimore City, Maryland
My Commission Exsine / 10/2019

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Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 48 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.
Plaintiffs,
V.

Civil Action No. 1:16-cv-02429-TSC

THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

Nee ee ee ee ee ee ee

 

AFFIDAVIT OF WILLIAM WEBB, JR.
I, William Webb, Jr., declare under penalty of perjury under the laws of the United States
of America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on April 8, 1951 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. Iam the brother of Adam Webb.

4. On October 23, 1983, my brother, Adam Webb, was deployed in Beirut, Lebanon
with the United States Marine Corps, posted at the Marine Battalion Landing Team

headquarters (“BLT”) when a suicide bomber attacked the BLT.
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5. On October 23, 1983, I was thirty-two years old. I first learned of the terrorist attack
from my mother, who informed me that the building had been blow up by terrorist. I
knew Adam was stationed there and was worried about him.

6. I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. | did not know whether Adam was dead or alive
following the attack. Additionally, Adam’s psychological injuries following the
bombing and resulting alcoholism have placed enormous stress on me and our
relationship.

7. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This terrorist
attack has permanently impacted my family and my relationship with my brother,
Adam Webb. Adam and I used to do a lot of target shooting together. After he
returned from Beirut, he became a loner, was gun shy, and didn’t like to shoot.
Moreover, Adam became an alcoholic and still struggles to this day. It has been hard
to watch him suffer.

8. My brother, Adam Webb, as well as my mother, Mary McMahon, and the estate of
my late father, William Webb, Sr., Adam’s other siblings, Katherine Nagy, Roger
Webb,, and Brenda Meager, Adam’s wife, Dawn Webb, and the estate of Adam’s late
son, Donald Webb, are also plaintiffs in this litigation.

I, William Webb, Jr., declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.
Case 1:16-cv-02429-TSC Document 19-3 Filed 03/06/18 Page 50 of 50

Executed on this the [bo day of Janvar) , 2018

Dhlham ble £,
William Webb, Jr. 7%

Sworn to and subscribed before me
this /6 _ day of Jani cry , 2018.

SCOT M. MCMAHON
Attorney At Law
NOTARY PUBLIC
STATE OF OHIO
My Commission Has

Kapt M. MeMakor

Notary Public

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